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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




  UNITED STATES OF AMERICA

       v.                                             Criminal Action No. 21-cr-150 (TFH)

  JAMES DOUGLAS RAHM, JR.,

                               Defendant.



                                            ORDER

       Having considered Defendant’s Motion in Limine to Bar Inflammatory and Irrelevant

Language [ECF No. 35], Defendant’s Motion in Limine to Exclude Facebook Post [ECF No. 37],

Defendant’s Motion to Dismiss Count One of the Superseding Indictment [ECF No. 40], the

Government’s Oppositions thereto [ECF Nos. 38 & 43], and the oral arguments of counsel, and

for the reasons stated in the bench opinion on the public record during the August 15, 2022

ZOOM hearing, it is hereby:

       ORDERED that Defendant’s Motion in Limine to Bar Inflammatory and Irrelevant

Language [ECF No. 35] and Defendant’s Motion in Limine to Exclude Facebook Post [ECF No.

37] are DENIED WITHOUT PREJUDICE.

       ORDERED that Defendant’s Motion to Dismiss Count One of the Superseding

Indictment [ECF No. 40] is DENIED.

       SO ORDERED.


August 16, 2022                                   ________________________________
                                                           Thomas F. Hogan
                                                  SENIOR UNITED STATES DISTRICT JUDGE
